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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)               )     MDL No. 16-2740
PRODUCTS LIABILITY                        )
LITIGATION                                )     SECTION: “H” (5)
                                          )
This document relates to:                 )
Barbara Earnest, 16-17144                 )


                         ORDER AND REASONS
      Before the Court are several Motions in Limine: Defendants’ First
Omnibus Motion in Limine (Doc. 7720); Defendants’ Second Omnibus Motion
in Limine (Doc. 7657); Defendants’ Motion in Limine to Preclude Evidence or
Argument Referring to Sanofi as a “French” or “Foreign” Company (Doc. 7662);
Plaintiff’s Motion in Limine to Preclude Evidence Regarding Sanofi's
Corporate Character and Good Acts (Doc. 7643); Plaintiff’s Motion in Limine
to Preclude Testimony and Argument that Plaintiff's Experts Have Not
Publicized/Published or Submitted Their Opinions to the FDA or Any Other
Organization (Doc. 7644); Plaintiff’s Motion in Limine to Preclude Testimony
and Evidence Regarding “Stem Cell” Staining (Doc. 7645); Plaintiff’s Motion in
Limine to Preclude Testimony and Argument Regarding Plaintiff Counsel
Advertisements (Doc. 7646); Plaintiff’s Motion in Limine to Preclude Defense
Counsel from Commenting on or Discussing Certain Matters in the Presence
of the Jury or Potential Jurors by Plaintiff (Doc. 7648); Plaintiff’s Motion in
Limine to Exclude Evidence of Healthcare Costs and Insurance as a Collateral
Source (Doc. 7650); Plaintiff’s Motion in Limine to Preclude Testimony and
Evidence Regarding Other Individuals’ Personal Use of Taxotere and Personal
Experience with Cancer (Doc. 7661); and Defendants’ Motion in Limine to
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Preclude Evidence or Argument that the Alleged “High Toxicity” of Taxotere
Causes or is Associated with Alopecia (Doc. 7664).


                                      BACKGROUND
         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical          companies      that    manufactured         and/or    distributed       a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Plaintiffs allege
that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring claims of failure to warn, negligent misrepresentation,
fraudulent misrepresentation, and more. The first bellwether trial of Plaintiff
Barbara Earnest (“Plaintiff”) is set to begin September 16, 2019.


                                   LAW AND ANALYSIS
         The following chart addresses the arguments set forth in each Motion
before the Court:

                                          Doc.
    Motion in Limine to Preclude               Ruling
                                          No.

    Evidence or Argument
    Concerning the Purported Moral
                                                     Granted. However, this ruling does not
    or Ethical Duties of                  7720
                                                     limit testimony on the standard of care.
    Pharmaceutical Drug
    Manufacturers

    Evidence or Argument
    Concerning Purported Legal            7720 Deferred due to vagueness.
    Duties and Conclusions




1   Docetaxel is the generic version of Taxotere.
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Evidence or Argument                   Granted in part and denied in part.
Concerning Other Lawsuits,             The Court will allow testimony of other
Claims, or Investigations         7720 lawsuits, claims, or investigations to
Against Defendants and/or              the extent they relate to alopecia pre-
Other Sanofi Entities                  dating Earnest’s treatment.

Evidence or Argument
                                       Granted in part. Deferred insofar as it
Concerning Complaints and
                                  7720 concerns any complaints regarding
Lawsuits Against Other
                                       alopecia that were made to the FDA.
Manufacturers of Docetaxel

Evidence or Argument
Concerning the Presence,               Granted. Counsel is cautioned,
Absence, or Identity of           7720 however, not to “vouch” improperly for
Defendants’ Corporate                  Sanofi.
Representative at Trial

Evidence or Argument
Concerning Defendants’
                                  7720 Deferred.
Executive and/or Employee
Compensation

Evidence or Argument                   Granted. If Plaintiff believes the “door
Concerning the Cost of Taxotere        is opened” to this evidence, a
                                  7720
or Prescription Drug Pricing           conference with the Court should be
Generally                              held.

Evidence or Argument
Concerning Defendants’
                                  7720 Deferred.
Corporate Finances or
Employment Decisions

Evidence or Argument
                                       Deferred due to vagueness, except to
Concerning Expert Opinions
                                       the extent this has already been
that Exceed the Scope of          7720
                                       addressed in the Court’s rulings on the
Plaintiff’s Experts’ Rule 26
                                       parties’ Daubert Motions.
Expert Disclosures

Evidence or Argument                   Granted in part and denied in part.
Concerning Defendants’                 The Court will allow factual evidence
                                  7720
Corporate Intent, Motives, or          that may go to show intent, motive, or
State of Mind                          state of mind.


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Evidence or Argument
Concerning Defendants’
Corporate Integrity Agreements,
Government Investigations or      7720 Granted, unless the door is opened.
Settlements, or Any Other
Alleged “Bad Acts” Unrelated to
Taxotere

Evidence or Argument
Concerning Specific Litigation    7720 Granted.
Conduct

Evidence or Argument                 Deferred due to vagueness. The Court
Concerning Alleged Fraud on the 7720 notes that there are no allegations of
FDA                                  fraud.

Evidence or Argument                   Granted. The Court will only allow
Concerning what Treatment Dr.          testimony as to alternate treatments
                                  7657
Carinder Would Prescribe to            available at the time of Earnest’s
Plaintiff Today                        treatment.

Evidence or Argument                   Denied. As previously ruled, the jury
Concerning what Plaintiff Would        must decide whether the prescribing
Have Done differently if She           decision would have changed; this
                                  7657
Had Been Given Different Risk          depends on the oncologist’s
Information by her Prescribing         conversations with Plaintiff and what
Oncologist                             risks Plaintiff was willing to accept.

Evidence or Argument
Concerning Non-Expert             7657 Deferred due to vagueness.
Causation Testimony

                                       Granted in part and deferred in part
                                       due to vagueness. The Court will allow
Evidence or Argument
                                       testimony from others as to their
Concerning Plaintiff’s Motive     7657
                                       observations of Plaintiff from which the
and/or Mental State
                                       factfinder may infer motive or state of
                                       mind.




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                                       Granted in part and denied in part.
                                       The Court will allow testimony
Evidence or Argument Referring
                                       establishing that Sanofi is a French
to Sanofi as a “French” or        7662
                                       corporation. The Court will not allow
“Foreign” Company
                                       any improper inference or
                                       characterization relating to this fact.

Evidence Regarding Sanofi’s
Corporate Character and Good      7643 Deferred due to vagueness.
Acts

Testimony and Argument that
Plaintiff’s Experts Have Not
Publicized/Published or           7644 Denied.
Submitted Their Opinions to the
FDA or Any Other Organization

                                       Dismissed as moot. In ruling on
                                       Daubert Motions, the Court has already
Testimony and Evidence
                                  7645 ruled that Defendants can discuss this
Regarding “Stem Cell” Staining
                                       staining but cannot reference it as part
                                       of “failed study.”

Testimony and Argument                 Granted in part and denied in part.
Regarding Plaintiff Counsel       7646 The Court will allow such testimony as
Advertisements                         it relates to Earnest only.

                                       Granted in part and denied in part.
                                       The parties are precluded from (1)
                                       referencing any settlement
Defense Counsel from                   negotiations; (2) referencing the
Commenting on or Discussing            number of attorneys involved in the
Certain Matters in the Presence   7648 litigation; and (3) evoking sympathy
of the Jury or Potential Jurors        due to litigation crisis or
by Plaintiff                           pharmaceutical costs. Parties are,
                                       however, allowed leeway in cross-
                                       examination to elicit bias and to argue
                                       that testimony is litigation-driven.

                                       Granted in part and denied in part.
Evidence of Healthcare Costs
                                       The Court will allow questions
and Insurance as a Collateral     7650
                                       regarding financing of Plaintiff’s
Source
                                       experts.

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Testimony and Evidence
Regarding Other Individuals’
Personal Use of Taxotere and       7661 Deferred.
Personal Experience with
Cancer

                                        Dismissed as moot. As the Court
                                        discussed in ruling on Daubert Motions,
Evidence or Argument that the
                                        Plaintiff cannot introduce testimony
Alleged “High Toxicity” of
                                   7664 that Taxotere is “more toxic” than other
Taxotere Causes or is Associated
                                        chemotherapy drugs. If the door is
with Alopecia
                                        opened, a conference should be held
                                        with the Court.


                               CONCLUSION
     For the foregoing reasons, IT IS ORDERED that:
  • Defendants’ First Omnibus Motion in Limine (Doc. 7720) is GRANTED
     IN PART, DENIED IN PART, and DEFERRED IN PART, as set
     forth herein;
  • Defendants’ Second Omnibus Motion in Limine (Doc. 7657) is
     GRANTED IN PART, DENIED IN PART, and DEFERRED IN
     PART, as set forth herein;
  • Defendants’ Motion in Limine to Preclude Evidence or Argument
     Referring to Sanofi as a “French” or “Foreign” Company (Doc. 7662) is
     GRANTED IN PART and DENIED IN PART;
  • Plaintiff’s Motion in Limine to Preclude Evidence Regarding Sanofi's
     Corporate Character and Good Acts (Doc. 7643) is DEFERRED;
  • Plaintiff’s Motion in Limine to Preclude Testimony and Argument that
     Plaintiff's Experts Have Not Publicized/Published or Submitted Their
     Opinions to the FDA or Any Other Organization (Doc. 7644) is DENIED;
  • Plaintiff’s Motion in Limine to Preclude Testimony and Evidence
     Regarding “Stem Cell” Staining (Doc. 7645) is DISMISSED AS MOOT;
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• Plaintiff’s Motion in Limine to Preclude Testimony and Argument
  Regarding Plaintiff Counsel Advertisements (Doc. 7646) is GRANTED
  IN PART and DENIED IN PART;
• Plaintiff’s Motion in Limine to Preclude Defense Counsel from
  Commenting on or Discussing Certain Matters in the Presence of the
  Jury or Potential Jurors by Plaintiff (Doc. 7648) is GRANTED IN PART
  and DENIED IN PART;
• Plaintiff’s Motion in Limine to Exclude Evidence of Healthcare Costs and
  Insurance as a Collateral Source (Doc. 7650) is GRANTED IN PART
  and DENIED IN PART;
• Plaintiff’s Motion in Limine to Preclude Testimony and Evidence
  Regarding Other Individuals’ Personal Use of Taxotere and Personal
  Experience with Cancer (Doc. 7661) is DEFERRED; and
• Defendants’ Motion in Limine to Preclude Evidence or Argument that
  the Alleged “High Toxicity” of Taxotere Causes or is Associated with
  Alopecia (Doc. 7664) is DISMISSED AS MOOT.


  New Orleans, Louisiana this 10th day of September, 2019.




                                    JANE TRICHE MILAZZO
                                    UNITED STATES DISTRICT JUDGE




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